         Case 3:20-cv-00133-JCH Document 205 Filed 12/14/20 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                      :
JAKUB MADEJ                                           :
                                                      :       CIVIL ACTION NO.
                       PLAINTIFF                      :       3:20-cv-00133-JCH
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY, MARVIN CHUN,                         :
MARK SCHENKER, PETER SALOVEY AND                      :
JESSIE ROYCE HILL                                     :
                                                      :
                       DEFENDANTS                     :
                                                      :       DECEMBER 14, 2020

 DEFENDANTS’ RESPONSE TO PLAINTIFF’S NOTICE RE: COURT’S ORDER AND
                       MOTION FOR ORDER

       In response to the Court’s December 14, 2020 order requiring the plaintiff to file a notice

identifying the name, business address, and telephone number of the court reporter whom the

plaintiff had engaged for the depositions of Mark Schenker and Sarah Insley, the plaintiff identified

Falzarano Court Reporters, 4 Somerset Lane, Simsbury, CT 06070, 860-651-0258. Had the

plaintiff actually engaged Falzarano Court Reporters, the defendants would have no objection.

However, a conversation with Dolores Falzarano revealed that Falzarano Court Reporters has not

been engaged to provide court reporting services for any depositions in this case.

       As explained in the attached affidavit, Colleen Davis, an associate employed at Donahue,

Durham & Noonan, P.C., spoke with Dolores Falzarano of Falzarano Court Reporters, LLC after

receiving the Plaintiff’s Notice Re: Court Order. Ms. Falzarano informed Attorney Davis that she

had not been engaged to provide court reporting services for any depositions in the above-

captioned action. In fact, had the plaintiff asked to engage Ms. Falzarano for court reporting

services for depositions in this action, Ms. Falzarano would have declined because he has not paid
          Case 3:20-cv-00133-JCH Document 205 Filed 12/14/20 Page 2 of 3




for services rendered in or about June, 2020. Ms. Falzarano explained that the plaintiff had

requested a copy of the transcript of an October, 2015 oral argument in Bagley v. Yale University.1

Although the 83 page transcript was e-mailed to him, the plaintiff claimed to never have received

it and stated that he no longer needed it. The plaintiff refused to pay for the services rendered.

Ms. Falzarano also shared that a male, who did not identify himself, had called her during the week

of December 7, 2020 to inquire about court reporting services for the week of December 14, 2020.

Ms. Falzarano told the individual that she was unavailable the week of December 14, 2020.

        Given that the plaintiff has lied to the Court and has not engaged Falzarano Court Reporters

to provide court reporting services for the depositions of Dean Schenker and Dean Insley, the

defendants’ motion to quash the depositions of Dean Schenker, Dean Insley, and a representative

of Yale University should be granted.

        Moreover, in the event that the plaintiff attempt to re-notice the depositions, the defendants

request that the Court enter the following orders:

             1) The plaintiff shall identify the court reporter’s name, business address, and
                telephone number in the notice of deposition;

             2) The plaintiff shall provide defense counsel with written confirmation from the court
                reporter indicating that the court reporter has agreed to provide court reporting
                services for the depositions; and

             3) Judge Merriam will supervise the depositions.

        While defense counsel has never sought such orders over the course of his forty-year career

as an attorney, it is apparent that such orders are necessary to prevent further motion practice

regarding the noticing and taking of depositions in this case. In addition, defense counsel fully



1
  Significantly, the undersigned also represented the defendant in Bagley v. Yale University. The plaintiff issued
discovery requests in this action seeking production of the discovery requests propounded and the responses received
in Bagley v. Yale University.


                                                         2
         Case 3:20-cv-00133-JCH Document 205 Filed 12/14/20 Page 3 of 3




expects that, without Court supervision, conducting depositions in this case will lead to motion

practice concerning the scope of the depositions and the conduct of the parties and counsel during

the depositions.




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax: (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




                                                  3
